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DECLARATION OF DIMITRI KALAITZAKIS

Declaration of Dimitri Kalaitzakis, pursuant to 28 U.S.C. Section 1746, under the penalty of
perjury:

1. Iam over the age of eighteen, suffer no legal disabilities, have personal knowledge of the
facts set forth below, and am competent to testify to them.

2. | understand I am making the statements in this Declaration under oath. This Declaration
is true and accurate to the best of my knowledge.

3. 1am the owner of the stock in High Heels Dancing Co.

4, [have been involved in responding to the discovery served upon High Heels Dancing Co.
By Plaintiff in the case of Nevarez v. High Heels Dancing Co., et al., No. 24 CV 2447.

5. I maintain the records of High Heels Dancing Co.

6. In August 2023, a flood occurred in the premises where the documents of High Heels were
maintained.

7. The flood destroyed all of the documents regarding the business of High Heels Dancing
Co.

8. When Plaintiffs in this case demanded that we produce all documents pertaining to the
names of the individuals who danced at High Heels Dancing Co. from March 25, 2021 to the
present, I produced all of the documents which were in existence at the time of that request. All of
the documents which contained that information in existence prior to the date of the flood were
destroyed in that flood.

9. High Heels Dancing Co. has no further information regarding the names of the individuals
who danced at its premises beyond those which have been produced to Plaintiffs’ counsel in

Defendants’ responses to the discovery served upon it in this case.
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: igh Heels
10. While there have been email communications between various dancers and High

Dancing Co.. no one on behalf of High Heels Dancing Co. has retained any of those

communications.

17, Until the filing of this case, there was no reason for anyone working for High Heels

Dancing Co. to believe they had any reason to retain any of those communications.
12. Defendant High Heels Dancing Co. has produced to Plaintiffs all of the information it

currently has regarding the names of the women who danced at that Club from March 25, 2021 to

the present,

13. Any information regarding any of those dancers which is currently maintained on any

of Defendants’ social media accounts are equally available to Plaintiffs as they are to defendants.

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14. Defendants did not close down its Facebook account. That Account was closed by

Facebook with no involvement in that action by Defendants.

15. I declare under penalty of perjury that the foregoing is true and correct.
Executed on this day of October, 2024.

October 7, 2024

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